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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 14-cv-02371-WYD-MJW

  MARY PERRYMAN,

  Plaintiff,

  v.

  NATIONAL CREDIT ADJUSTORS, L.L.C., a Kansas limited liability company,

  Defendant.

                                 ORDER ON
       PLAINTIFF’S RENEWED MOTION FOR THE COURT TO ORDER THE
    DEFENDANT’S FED.R.CIV.P. 30(b)(6) DESIGNATED REPRESENTATIVE(S) TO
   APPEAR FOR THE DEPOSITION(S) IN DENVER, COLORADO ON DECEMBER 11,
                                    2014
                              (Docket No. 21)

                                              and

                                 ORDER TO SHOW CAUSE

  MICHAEL J. WATANABE
  United States Magistrate Judge

          On December 1, 2014, Plaintiff moved to compel Defendant’s Rule 30(b)(6)

  deposition(s). (Docket No. 17.) As grounds for the motion, Plaintiff alleged that

  repeated efforts to schedule the deposition(s) had failed to produce results. Plaintiff

  further alleged that Defendant has a pattern of stalling its Rule 30(b)(6) depositions and

  that, in at least three other cases with Defendant and Plaintiff’s counsel, Defendant has

  stalled the depositions until faced with a court order.

          Senior District Judge Wiley Y. Daniel referred the motion to the undersigned.

  (Docket No. 18.) On December 2, 2014, I denied the motion without prejudice, ordered
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  the parties to immediately meet and confer regarding the Rule 30(b)(6) deposition, and

  ordered them to file notice of the scheduled deposition(s) and deponent(s) or else show

  cause why counsel for the parties should not be held in contempt of court. (Docket No.

  19.) The Court’s CM/ECF system confirms that the order was electronically delivered to

  Defendant’s counsel at sdunnfirm@aol.com. There is no notice in the system that the

  e-mail notice was returned as undeliverable.

        On December 9, 2014, no notice of deposition(s) and deponent(s) was filed.

  Rather, Plaintiff renewed its motion to compel the Rule 30(b)(6) deposition(s). (Docket

  No. 21.) Judge Daniel referred the motion to me. (Docket No. 22.) Plaintiff’s counsel

  alleges that he forwarded the Court’s December 2nd Order to Defendant’s counsel

  three separate times, and attempted to meet and confer pursuant to that order four

  separate times, all to no avail. (Docket No. 21 ¶ 10.)

        Plaintiff notes that the same Defendant is already subject to an order from U.S.

  Magistrate Judge Kathleen M. Tafoya to appear for Rule 30(b)(6) depositions on

  December 11, 2014, in Haley v. National Credit Adjustors, LLC, Case No. 14-cv-02108-

  WYD-KMT. The Court further notes that an identical motion is currently pending (and is

  resolved contemporaneously herewith) in Rivera v. National Credit Adjustors, LLC,

  Case No. 14-cv-01549-RBJ-MJW. Plaintiff’s counsel suggests that the Rule 30(b)(6)

  depositions for all three cases can be taken on that day, to minimize cost.

        The Court notes that no motions for a protective order nor other filings regarding

  these Rule 30(b)(6) depositions have been filed by Defendant.
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        WHEREFORE, based on the foregoing, it is hereby ORDERED that:

        •   On DECEMBER 18, 2014, AT 1:30 P.M. in Courtroom A-502, Fifth Floor,

            Alfred A. Arraj U.S. Courthouse, 901 19th Street, Denver, Colorado, a SHOW

            CAUSE HEARING WILL BE HELD during which counsel for Defendant shall

            show cause why he should not be held in contempt of court or face other

            sanctions for his failure to comply with the Court’s December 2, 2014, Order;

        •   Plaintiff’s Renewed Motion for the Court to Order the Defendant’s

            Fed.R.Civ.P. 30(b)(6) Designated Representative(s) to Appear for the

            Deposition(s) in Denver, Colorado on December 11, 2014 (Docket No. 21) is

            GRANTED;

        •   Defendant’s Fed.R.Civ.P. 30(b)(6) Designated Representative(s) shall appear

            for their depositions both individually and as corporate representatives of the

            Defendant pursuant to Fed.R.Civ.P. 30(b)(6) starting at 9:00 a.m. Mountain

            Time on December 11, 2014, in Denver, Colorado at Hunter & Geist Court,

            Inc. Court Reporting, 1900 Grant Street, Suite 1025, Denver, Colorado

            80203; and

        •   Defendant shall bear all fees, costs, and expenses associated with the

            deposition(s).


  Dated: December 10, 2014                 /s/ Michael J. Watanabe
         Denver, Colorado                  Michael J. Watanabe
                                           United States Magistrate Judge
